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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-585V
                                      Filed: May 22, 2017
                                        UNPUBLISHED

****************************
LINDA BAILEY,                         *
                                      *
                  Petitioner,         *      Joint Stipulation on Damages;
v.                                    *      Influenza (“Flu”); Guillain-Barre
                                      *      Syndrome (“GBS”);
SECRETARY OF HEALTH                   *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                  Respondent.         *
                                      *
****************************
Amber Wilson, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Glenn MacLeod, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On May 17, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered from Guillain Barre Syndrome (“GBS”)
following an influenza (“flu”) vaccination she received on November 12, 2014. Petition
at 1-2; Stipulation, filed May 19, 2017, at ¶ 4. Petitioner further alleges that the vaccine
was administered within the United States, that she suffered the residual effects of this
injury for more than six months, and that there has been no prior award or settlement of
a civil action for damages on her behalf as a result of her condition. Petition at 3;
Stipulation at ¶¶ 3-5. “Respondent denies that the flu vaccine caused petitioner’s
alleged GBS or any other injury and further denies that her current disabilities are a
sequela of a vaccine-related injury.” Stipulation at ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on May 19, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $165,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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